

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-0207-08
					





EX PARTE EUSEBIO COLLAZO, Appellee



v.



THE STATE OF TEXAS





ON APPELLEE'S PETITION FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


HARRIS COUNTY





		Per curiam.  Keasler, and Hervey, JJ., dissent.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 68.5
because the petition exceeds 15 pages.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.

En banc.

Delivered: May 21, 2008

Do Not Publish.



